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EXHIBIT 17
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                            COMMONWEALTH OF MASSACHUSETTS

        SUFFOLK, ss.                                              SUPERIOR COURT
                                                                  CIVIL ACTION NO. re&        _-23St0
                                                            )
        COMMONWEALTH OF MASSACHUSETTS,                      )
                                                            )
                               Plaintiff,                   )
                                                            )
                       v.                                    )   COMPLAINT
                                                             )
                                                             )
        THE NEW ENGLAND INSTITUTE                           )
        OF ART, LLC and EDUCATION                           )
                                                                                        r-


        MANAGEMENT CORPORATION                              )
                                                             )
                                                             )
                               Defendants.                   )
                                                             )



                                            INTRODUCTION

        1.       The Commonwealth of Massachusetts, by and through the Office of Attorney

General Maura Healey (the "AGO"), brings this enforcement action in the public interest

pursuant to the Massachusetts Consumer Protection Act, G.L. c. 93A, § 4. The Commonwealth

alleges that The New England Institute of Art, LLC ("NEIA"), a Massachusetts-based for-profit

school, and its parent company, Education Management Corporation ("EDMC") (each also

referred to as a "Defendant" or collectively as "Defendants"), engaged in unfair or deceptive acts

or practices by, among other things, actively targeting and aggressively recruiting prospective

students by misrepresenting NEIA's "in field" job placement rates, its capacity to provide job

search assistance to students and recent graduates, and the cost of attendance and availability of

financial aid.
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         2.       The Commonwealth is seeking civil damages in the form of restitution, including

a refund to students of all unfairly or deceptively procured tuition and/or fees; civil penalties of

$5,000 per violation; and the AG0'......unaute attuilicyb                              111LAILLGU   in the

investigation and prosecution of this matter. The Commonwealth is also seeking permanent

injunctive relief in the form of an order prohibiting Defendants from continuing to harm former

students who were deceived by Defendants, including through the pursuit and collection of

outstanding student loans and other school-related debts.

         3.       NEIA was a for-profit arts college located in Brookline, Massachusetts. Since at

least 2010, the school repeatedly deceived and misled existing and prospective students to bolster

enrollment and increase revenues — and, ultimately, profits — for both itself and EDMC.

         4.       Nearly all NEIA students incurred substantial debt to pay the school's steep

tuition and fees, yet upon graduation, most have been unable to secure employment in their field

of study and/or have been consistently under-employed.' Many of these individuals are now, or

soon will be, unable to afford their student loan payments. When individuals default or become

delinquent on their student loans their access to credit is severely impaired. Their future wages, if

any, may be garnished and their student loans are generally not dischargeable in bankruptcy.

         5.       Because the vast majority of student loans are backed by the federal government,

the costs of default are borne not by NEIA and EDMC, but ultimately by students and taxpayers.

For-profit schools like NEIA are enriched by student loans in the form of tuition and fees paid by

students, while assuming none of the associated underwriting risk.




 In 2017, the U.S. Department of Education released the first official Gainful Employment ("GE") Rates under the
governing regulations. The purpose of these regulations is to monitor schools' claims regarding their success in
placing graduates in suitable jobs. Of the 11 NEIA programs evaluated, 6 failed the GE standard, and 3 received a
"zone" designation, meaning there was still cause for concern regarding those programs.

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       6.       Former NEIA students in contact with the AGO have freely expressed their anger

and frustration. For example, a 2011 graduate of NEIA's Audio & Media Technology

(Bachelor's) program reports feeling "scammed and cheated." He added, "I feel like a prisoner to

my six-figure debt. Six-figure debt at 22 years of age."

       7.       A graduate of NEIA's Photography (Associate's) program reports being initially

"intrigued by [the school's] high statistics ofjob placement post-graduation," but added that

these statistics "turned out to be grossly exaggerated." She continued as follows:

              "It became clear very quickly that my field did not even necessarily require
              a degree and that outside of starting my own business (not an interest of
              mine), my options were extremely limited. This place is/was a crock. My
              20-year old self was manipulated by grandiose promises that were nothing
              but lies. I am now the owner of a $60,000 piece of paper."


                                  JURISDICTION AND VENUE

       8.       Under G.L. c. 93A, § 4, the AGO has a statutory mandate to protect the public

from entities that engage in unfair or deceptive acts or practices in the conduct of business in

Massachusetts. This mandate includes the authority to bring the present action.

       9.       This Court has subject matter and personal jurisdiction in this action pursuant to

G.L. c. 93A, § 4 and G.L. c. 223A, §§ 3(a)-(b), respectively. Venue is proper in Suffolk County

pursuant to G.L. c. 223, § 5 and G.L. c. 93A, § 4.

                                             PARTIES

        10.     The Plaintiff is the Commonwealth of Massachusetts, represented by the AGO,

who brings this action in the public interest to remedy Defendants' unlawful conduct and to

enjoin future unlawful acts.

       11.      Defendant NEIA is a limited liability company with a principal place of business

at 10 Brookline Place West in Brookline, Massachusetts. In May 2015, NEIA announced that it

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    would cease enrollment and close the school after "teaching out" its remaining students. NEIA

    ceased operations on or around December 31, 2017.

           1
                   Defendant L'T-11`,,IC is a for-profit Pennsylvania corporation with a principal place

of business at 210 Sixth Avenue in Pittsburgh, Pennsylvania. EDMC purchased NE1A in 1999.

In 2017, EDMC sold the majority of its for-profit schools to the Dream Center Foundation, a

non-profit entity; however NEIA was not included in the sale. At all times relevant to this

Complaint, EDMC owned and operated NEIA.2



                                         STATEMENT OF FACTS

           I.      For-Profit Schools

           13.     For-profit schools, which award various types of degrees and certificates, are

owned and operated by for-profit businesses. For Profit Higher Education: The Failure to

Safeguard the Federal Investment and Ensure Student Success, United States Senate, Health,

Education, Labor and Pensions Committee, p. 1 (July 30, 2012) ("Senate Report"). Like any for-

profit business, a principal function of these entities is to produce returns for their owners and

shareholders (id.).

           14.     This profits-driven approach comes at a price, undermining the educational and

career goals typically associated with post-secondary education. In particular, a significant

portion of students from for-profit schools are unable to obtain employment, or are either

underemployed or become employed in completely unrelated fields (id., p. 7). As a result, they

are unable to afford their loan payments, resulting in delinquency or even default. Federal loan



2On June 29, 2018 EDMC filed for bankruptcy under Chapter 7 of Title 11 of the United States Code. As an action
commenced "by a governmental unit ... to enforce such governmental unit's ... police and regulatory power," the
present lawsuit is exempted from the bankruptcy code's automatic stay. See 11 U.S.C. §362(b)(4).

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default rates for 2014 college graduates amply illustrate this phenomenon: while 4-year, non-

profit colleges have default rates of between 7% and 7.5%, the rate for analogous for-profit

colleges is 14.6%. NEIA's corresponding default rate is 13.1%.

        15.     For-profit schools have been widely criticized for their routine use of misleading

and deceptive marketing practices and aggressive recruiting techniques (id, p. 176). Among

other things, these schools falsely market themselves as highly selective, while their recruiters

are trained to create a false sense of urgency to enroll, and to identify and exploit prospective

students in dire financial straits, suggesting a degree or certificate from the school will solve

students' financial woes. These tactics have proved all too effective at enrolling vulnerable

students and thus generating revenues for these schools.



       II.      NEIA Degree Programs

        16.     Prior to closing, NEIA offered associate's and bachelor's degrees in media arts,

design, and fashion retail management. Tuition averaged $49,000 for NEIA's 2-year program

and $95,000 for its 4-year program, exclusive of room and board or cost of living. NEIA

advertised these programs as vocational training, offering "hands-on" experience and career

preparedness.

        17.     The majority of NEIA students paid a significant portion of their tuition with

federal grants or loans authorized under Title IV of the Higher Education Act of 1965 ("Title

IV"), with more than 90% graduating with debt. In fiscal years 2010 to 2016, NEIA collected

tuition and fees totaling more than $130 million, of which at least 60% were Title IV dollars. As

a practical matter, this meant students (or their parents) were responsible to repay these interest-

bearing student loans.



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          18.        By way of example, of the 232 students who were still enrolled at NEIA in 2015,

218 (or 94%) had taken out at least one federal loan.3 These students (and/or their parents)

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as most were scheduled to graduate after 2015, thus adding one or more additional years of

tuition to their debt load.

          19.        According to Defendants, the average debt load for NEIA graduates between

2009 and 2012 was over $53,000. This figure, however, does not include amounts owed directly

to NEIA. Because students could rarely afford to pay the balance owed directly to NEIA in one

lump sum, the school offered installment contracts, which operate much like auto loan or other

retail installment contracts, charging interest4 and levying fees and other penalties for late or

skipped payments. In 2011 students had over $5 million in installment contract balances. NEIA

did not include the unpaid balance on these contracts in calculating the debt load of its graduates,

yet this debt has been actively pursued by NEIA, both during and after students' tenure at the

school.

          20.       While enrolled, students were hounded by NEIA to make payments on their

installment contracts. Among other things, students report being frequently called out of class to

make payments directly to the bursar's office. Graduates behind on their installment contract

payments report being pursued by debt collectors. NEIA would also push these graduates to

enter deferment or forbearance plans with respect to their federal loans, thereby lowering the

school's reported cohort default rates while at the same time freeing up cash for more installment



3 Five of the remaining fourteen students utilized veteran's benefits to help pay tuition.
  Retail installment contracts issued by NEIA charged an annual percentage rate of 12% through at least 2011. By
2015, NEIA had lowered the APR to 3.36%.
5 A cohort default rate is the percentage of a school's borrowers who enter the repayment period on federal loans
during a particular federal fiscal year and default on those loans. Schools that report a default rate of 30% or greater


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contract payments to NEIA. NEIA students also report having significant private loans in

addition to their federal loans, resulting in debt loads of unmanageable proportions. As one

former student noted, "I ended up with $110,000 in [private and federal] student loans. ... I only

make enough [to pay] for my bills at this point and have no way of saving in order to make a

future for myself."



         III.      Defendants' Unfair or Deceptive Acts or Practices

         21.       Since at least 2010, Defendants have engaged in unfair or deceptive practices in

the recruitment and enrollment of students. These practices include aggressive sales tactics and

misrepresentations to consumers and prospective students. Many of these unfair and deceptive

practices are perpetrated through the admissions process.

                A. Aggressive Sales Tactics

         22.       The beginning of the admissions process involved a prospective student speaking

with a recruiter who self-identified as "the" Assistant Director of Admissions ("ADA"), a tactic

which was meant to conceal the fact that the prospective student was actually only speaking with

a recruiter. The job title not only deceived prospective students, it also deceived prospective

employees. One former ADA believed he was applying for a job as the Assistant Director of

Admissions and was surprised to learn that there were at least 20 other people who held the same

title.




for three consecutive years are at risk of losing access to Title IV funds. Therefore, schools like NEIA lower their
reported default rate by steering borrowers who are about to default into deferment or forbearance plans. As a result,
these schools avoid sanctions by the Department of Education, continue to have access to Title IV funds, and
prospective students are unaware that, in fact, many more borrowers are struggling to repay their loans. Indeed,
while NEIA's official 2010 federal cohort default rate was 17.1%, in disclosures required under 940 CMR 31.00,
NEIA calculated that an additional 32.9 % of borrowers in the cohort were in deferment or forbearance. In total,
50% of borrowers were in default, deferment or forbearance in the 2010 cohort year.

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         23.       EDMC required each newly hired ADA to attend a national training program

before they began recruiting at various EDMC schools, including NEIA. EDMC conducted the

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practices. Additionally, a former ADA reported that whenever NEIA was deemed to be

"underperforming" in its enrollment numbers, employees from EDMC came to the school and

re-trained the ADAs by conducting role-playing sessions and emphasizing "the importance of

sticking to the script."

        24.        Each NEIA ADA had to meet weekly quotas with respect to phone calls made,

appointments scheduled, and students enrolled. ADAs who did not meet their quotas were

ultimately terminated. Among other things, NEIA required its recruiters to make hundreds of

telephone calls a week, including from 3 to 7 calls per day to each prospective student — until the

recruiter was able to actually speak with the individual. The goal of each call was to convince the

prospective student to visit NEIA as soon as possible, preferably that same day or the next day.

Former NEIA ADAs describe the environment of the admissions department as high-pressured

and toxic.

        25.        Former students report being called and e-mailed relentlessly once they expressed

even the slightest interest in the school.

               •   "Once they have your information, they are ruthless."

               •   "They called a little excessively like there was some rush to sign up."

               •   "My experience was very rushed. I was promptly set up with a meeting with
                   NEIA, they stressed their job placement was exceptional."

               •   "The process was quick with get[ting] loan [money] and [I] was offered pre-
                   acceptance in order to start sooner. ... I received calls every day since the open
                   house to apply now. This happened for more than a month."



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             •   "It was a little annoying, honestly. I received many phone calls and emails often
                 ...It seemed like they rushed me in."

             •   "It was like every day a new phone call or email came through. It was too much! I
                 felt so pressured to enroll and then told whatever I wanted to hear to enroll. Little
                 to none of the information was accurate."


       26.       Rather than focus on prospective students with a stated interest in NEIA's

programs, recruiters were indiscriminate. Internal EDMC documents show that, of the

individuals who ultimately spoke to an ADA, only 5% understood the difference between

specialized and traditional education, knew about NEIA' s particular programs, or even expressed

an interest in higher education.

       27.       Indeed, NEIA recruiters chased down every possible lead, no Matter the source

and no matter how obtained. EDMC, like many for-profit schools, purchased consumer

information from online and other lead generators. ADAs would also generate' "leads" by asking

prospective students if they knew anyone who might be interested in NEIA. In addition, NEIA

personnel would give "informational" presentations at high schools and community colleges and

use the sign-in sheets to begin aggressively recruiting individuals who had attended. If

prospective students wavered as to their interest in NEIA, ADAs would convince them they were

a "good fit" based on the most attenuated of circumstances. For example, ADAs were trained by

EDMC to tell prospective students that hobbies such as "doodling," "watching HGTV shows,"

and "surfmg the web" made them ideal candidates for one or more of NEIA's programs.

       28.       NEIA recruiters were trained by EDMC to ensure that if a prospective student

came for an "interview," he or she would not leave without also applying to the school and,

critically, visiting the financial aid office. According to internal EDMC documents, it was

expected that between 30% and 45% of prospective students who submitted applications and


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signed enrollment agreements would cancel their enrollments. Therefore, to prevent prospective

students from canceling, once an application was submitted, EDMC required ADAs to "Call [the

students} the very next day. Keep tine dream         ... Keep   contact on a regular 'oasis" ano.'

invite them to "lock-in events."

        29.      One student described the breakneck speed with which she was recruited and

enrolled at NEIA:

       "The enrollment process was very intense as in how quickly the recruiters wanted me to
       begin classes. I inquired about the school in general in late December. I received a call
       back on January 4 ... [the recruiter] was very eager to get me into the school for a tour.
       We scheduled a tour for that Thursday, January 6 ... After the tour ... [the recruiter]
       assured me we could move the proper process very quickly so that I [could] be enrolled
       in classes for Monday. ...[W]e went back to the main building and started doing
       paperwork to get me enrolled. That night I applied for multiple loans, filled out the
       [NEIA] application and didn't leave there until about 11:00 PM. The following days I
       would submit my essay ... and more loan documents."

       30.      Defendants' aggressive tactics proved highly successful. Defendants aggressively

recruited unsophisticated consumers, rushed them through the enrollment process, and induced

them to enroll into programs costing upwards of $100,000 with dubious job prospects.



       B. Misrepresentations

       31.      In addition to enduring an aggressive enrollment process, prospective students

were given false or misleading information by Defendants. One student reported that the

representations made by recruiters were "very comforting but all false," amounting to little more

than telling her "whatever [she] wanted to hear to [make her] enroll."




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        1. False and/or Misleading Representations Concerning NM's Selectivity


        32.      EDMC trained ADAs to tell prospective students that they needed to meet with

the prospective students in order to determine their suitability to the school. During the

recruitment process, ADAs were required by EDMC to tell prospective students that they were a

"good fit" for the school to encourage them to apply. As one student reported, "I was foolishly

recruited by some admissions counselor who made me think I was qualified to get in when in

reality they accept anyone who has money or a heartbeat."

        33.     Indeed, NEIA accepted nearly everyone who applied, regardless of their ability to

succeed. NEIA effectively operated on an "open admissions school" basis, meaning that the only

requirement for admission was a high school diploma or GED. Applicants to NEIA were not

required to submit scores from college entrance exams. NEIA purportedly required prospective

students to complete an essay as part of their application. If an applicant did not have an essay

prepared at the time of the interview, an ADA would bring the applicant to a computer on

campus to type an essay on the spot, sometimes even helping the applicant to complete it.

Further still, according to at least one former ADA, these essays were never actually evaluated,

thus their quality and substance were irrelevant. Instead, they were used to paint a false picture of

the school's selectivity.

        34.     NEIA furthered its appearance of selectivity by falsely reporting to the

Department of Education that its acceptance rate, a number that was publicly available to

prospective students, ranged from 42.9% to 27.6% between fiscal years 2010 and 2013.

However, when its accreditor expressed concerns about declining enrollment, NEIA explained in

a 2012 report to the accreditor that its true acceptance rate during this period increased from




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96.4% in fiscal year 2010 to 100% in fiscal year 2013. NEIA further explained how it had been

calculating the acceptance rate:

          "For our purposes, v,ie onut e6nside;:c a st-Licle.-iit to L ptcd until they have .;otiipieted
         financial aid packaging. As a result of using that definition, we have a low acceptance
         rate and an extremely high enrollment rate. ... We have substituted the figures for a more
         traditional definition of acceptance, academic acceptance by the Admissions Committee
         of the Faculty. This shows a more accurate picture of a high acceptance rate and a
         moderate enrollment rate."


         35.      NEIA's attrition rate is further evidence of its lack of selectivity and the true

mismatch between most students and the school. Defendants relied heavily on the purported

career successes of its graduates during the recruitment process, discussed infra, but failed to

disclose to prospective students that, since 2010, more than 60% of students who enrolled in

NEIA did not complete their selected program.6 Notably, this attrition rate was consistent across

EDMC schools, all of which were for-profit entities.

         36.      Students who left the school nonetheless attended, on average, for about 44 weeks

prior to withdrawal. Thus, they incurred significant, non-refundable costs of attendance, which

they were responsible to pay directly to the school and/or through federal and private loans.

These former students have no degree, few transferable credits, and no increased earning

capacity; instead, for their efforts, they have been saddled with debt that is all but impossible to

discharge.




6 In addition to enrolling unqualified students, NEIA knowingly enrolled students who required accommodations the
school would be unable or unwilling to provide. Former students have complained to the AGO that NEIA failed to
accommodate certain disabilities despite promising to do so during the admissions process. EDMC trained ADAs to
tell prospective students that the school is "committed to providing qualified students with disabilities equal
opportunities to access the benefits of school services, programs, and activities." Former students have reported that
when they did not receive the accommodation or support they expected from the school, they were forced to
withdraw from the program.

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        37.     As one former NEIA employee stated, "In all, the admission process was simply a

sales pitch. Any student, regardless of high school grades, performance or ability to be a lifelong

learner were not taken into account. ... If they signed up — they became a student."

        38.     NEIA's representations that its admissions were in any way selective were

demonstrably false, and were made for the purpose of, and had the effect of, inducing students to

enroll in NEIA, collecting tuition money and maintaining accreditation for NEIA.



        2. False and/or Misleading Representations Concerning Job Placement Rates

        39.     Since at least 2010 or earlier, a key part of Defendants' recruiting efforts involved

written and oral statements concerning NEIA's historical success in placing students in jobs in

their field of study.

        40.     Defendants' marketing materials described NEIA's programs as, among other

things, "providing [an] education in creative yet employable fields," allowing prospective

students to "turn your creativity into a career" and "make your living doing what you love."

        41.     Defendants misled prospective students into believing they could expect full-time

employment in their field of study. Internal EDMC documents show that ADAs were trained to

inform prospective students that "the goal of the career services department is to assist graduates

in obtaining full time employment in their field of study." The 2010 placement statistics

brochure provided to prospective students also states that Career Services will "help you pursue

full-time work after graduation." EDMC required the ADAs to read the job placement statistics

verbatim from a brochure produced by EDMC. However, neither the brochures nor the ADAs

disclosed that the school's statistics included part-time jobs.




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         42.        In brochures and on its website, NEIA claimed its overall job placement rate for

2010 graduates was over 89%, with rates in individual programs as high as 98% (Audio & Media

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NEIA. To start, the rates include part-time jobs when students were left with the impression that

NEIA was designed to secure them full-time employment. The rates also include jobs unrelated

to the graduate's field of study. Thus, in reality, the school's placement rates for in field, full-

time, non-temporary employment ranged from just 26% to 60% in five of its programs. 7

        43.         Defendants' failure to disclose to prospective students that many of its graduates

were only able to obtain part-time employment was unfair and deceptive.

        44.         The placement statistics provided by Defendants are calculated based on

information obtained by Career Service Advisors (CSAs) at NEIA. Defendants required CSAs at

NEIA to confirm graduate employment by obtaining written or verbal employment verification

from employers or graduates. CSAs were required by EDMC to obtain verification of the placed

graduate's job title, job duties, and the hours the graduate worked.

        45.         Defendants utilized a variety of manipulative techniques to inflate their placement

statistics. Defendants (i) falsely represented the existence of a job with an employer despite

evidence the student was not so employed; (ii) falsified job titles; (iii) counted jobs that were not

in the students' field of study; (iv) counted short-term jobs as permanent; (v) overestimated

students' earnings; (vi) used incorrect verification forms and (vii) counted jobs graduates held

before graduating from, or even enrolling in, NEIA.




 Pursuant to 940 CMR 31.00, NE1A began in 2014 to formally report the full-time employment rates of its
graduates from each program. On average, only 34.7% of NEIA graduates during the 2012-2103 calendar years
obtained full-time non-temporary jobs in their field of study.

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        46.     Some of the manipulative techniques used by CSAs were required by EDMC's

Career Statistical Reporting Procedures and Graduate Employment Procedures (collectively,

"EDMC's procedures"). Firstly, EDMC directed CSAs to count as placed any graduate working

in a job as long as the graduate was using 25% of the core skills learned in the graduate's

program for 25% of the time in his/her employment. According to former CSA Amanda Lobdell,

Career Services did not consider it relevant whether the graduate's degree was necessary to

obtain the job. As a result of this low standard prescribed by EDMC, CSAs counted customer

service, retail, and administrative positions as placements. Defendants included these jobs in the

placement statistics provided to prospective students.

        47.     EDMC also directed CSAs to count short-term jobs as permanent as well as

overestimate graduates' earnings in such jobs. EDMC's procedures state that a graduate is

considered employed "as long as [the graduate] worked at least one day. No additional days on

the job are required as long as the grad went to a job that fit their skill level."

        48.     CSAs were expected to count essentially any in-field or related job, regardless of

how short its duration, provided that the job could be characterized as meeting a minimum

annual salary. From 2008 through 2012, the minimum salary ranged from $10,500 to $12,000.

To calculate that salary, EDMC required CSAs to "annualize" the reported hourly wage by

calculating what the graduate could earn in the job in 12 months, regardless of the actual length

of employment. Therefore, even in instances where a graduate was employed in a seasonal or

temporary position, CSAs "annualized" the reported earnings to be able to include the graduate

as "employed" in the job placement statistics provided to prospective students. In one such

instance, a 2010 Graphic Design graduate was offered a temporary contract position, with a

wage of $15 per hour on a contract "not to exceed $3,000." NEIA nevertheless annualized the



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reported wages to $31,250, which allowed Defendants to count this graduate as employed. In

another instance, several 2010 graduates of the Digital Film and Video Production program

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                                                                                           CSC   jobs were short-tenn, NEIA.

CSAs annualized the reported wages, creating the appearance that these graduates obtained

permanent, rather than short-term, employment, thereby falsely inflating the 2010 placement

rates.

             49.       EDMC further required CSAs to count as placements related jobs that a graduate

held long before graduating from, or even enrolling at, NEIA, provided that the job could be

characterized as meeting the relatedness requirement and the graduate desired to remain in the

position. NEU included at least 10 such jobs in its 2010 placement statistics.

             50.       Despite EDMC's low standards for counting a job as a placement, CSAs

nevertheless also engaged in manipulative techniques to inflate the job placement and salary

statistics in violation of EDMC's procedures, including manipulating job titles and falsifying

earnings data, thus inflating the job placement statistics even further.

             51.       EDMC's procedures repeatedly state that it was preferable to obtain written

employment verification from an employer rather than a student. In deposition testimony, NEIA' s

former President and Director of Career Services, John Lay, stated that it was preferable to obtain

employment verification from employers because students were known to be unreliable, and often

exaggerated the details of their own employment. And yet, the overwhelming majority of

employment verification forms were, at least purportedly, completed by students. Former CSA

Amanda Lobdell confirmed that if she first obtained verification from a graduate, she did not

attempt to confirm any of the employment details with the employer. NEIA knew that the

information on most of the forms was, for these and other reasons discussed below, unreliable.



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Nevertheless, Defendants used this information, not to ensure that graduates were employed in

related and sustainable jobs, but instead to create the appearance that they were so employed for

the purposes of inflating placement rates to recruit prospective students.

        52.     The information NEIA recorded was unreliable for a variety of reasons. In some

instances, despite what a graduate reported, the CSA manipulated enough of the information

provided either verbally or in writing to record a graduate as a placement. For example, a graduate

from the Graphic Design program self-reported on his verification form only that he was working

as an intern for the Disney College Program. The CSA inexplicably reported that the graduate was

employed as a graphic designer, when, in reality, he was working in guest transportation.

        53.     EDMC required CSAs to obtain written verification for at least 75% of graduates

in each cohort. To meet the quota, in addition to the techniques referenced above, CSAs made

students sign verification forms in blank so that the CSAs could fill in employment details

themselves at a later date. In a review of 161 student-signed employment verification forms for

2010 graduates, nearly 40% had been substantively completed by CSAs. This process allowed

CSAs to exaggerate or fabricate information to purportedly meet the employment verification

standards under EDMC's procedures.

        54.     For example, a graduate from the Interior Design program stated in an email to a

CSA that while she was still working at a retail store where she had been employed for 5 years

prior to graduating from NE1A, she was looking for in-field employment and asked the CSA to

forward her job leads. In notes accompanying the verification form, the CSA recorded, however,

that the graduate "is open to looking at jobs but is not in a huge rush since she likes her current

position and is well compensated." The CSA purposely misrepresented the contents of the

graduate's email and completed the verification form herself. Because the graduate had



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previously signed the form in blank, it created the appearance that the graduate was verifying

that she had obtained in-field employment, when she was actually still looking for a job. The

graduate was repuiLc,u        .1-/GICIA.144.1.11b   as an   •   .0 _1
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                                                                                                              CSA




substantively completed the form of a graduate who was working as a sales associate at an office

supply store. The form, having been signed in blank by the graduate, was completed by the CSA

to claim the student was instead employed as a graphic designer. This graduate was reported by

Defendants as an in-field placement.

         55.       When they could not obtain, or fabricate, a verification resulting in a placement,

CSAs tried to have the graduates confirm details of their employment as being even tangentially

related to the field.8 One former CSA explained in an e-mail to a graduate seeking placement

assistance, "I only have until the end of this month to work with April grads, not a lot of time to

find you something .... So, I would like to account for you in another way." The CSA proceeded

to ask the graduate whether any of her job responsibilities at a framing shop, where she had been

working for at least a year, were related to design, even though the student graduated from the

Media Arts & Animation program. This graduate was reported by Defendants as an in-field

placement.

        56.        Furthermore, CSAs often would count freelance employment as a placement

without obtaining sufficient information from the graduate, thereby assiduously avoiding the

procedures EDMC purported to ensure that such "jobs" were real and sustainable.

        57.        As a result of Defendants' various manipulative techniques, the job placement

statistics included many unrelated or inadequate jobs, including the following:

               •   Unpaid internships



 Such efforts by EDMC Career Service Advisors were also highlighted in the Harkin Report, discussed infra.

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              •   Entry-level retail sales associates/cashiers

              •   A job that lasted 20 hours in total

              •   A job where a graduate worked 7 hours per week

              •   Related and unrelated jobs obtained years before enrollment or graduation



        58.       In its 2008 Statistical Reporting Procedures, EDMC explained that its Career

Services Central Staff in Pittsburgh reviewed each graduating class' employment statistics, and

audited the information to ensure, among other things, that the position titles were field-related,

salaries were calculated correctly, and full employment details were available. EDMC

communicated with NEIA about the types of falsifications and shortcuts it typically found in the

placement data, including unrelated jobs, jobs with no documentation that the job was confirmed

or verified, and overestimated salaries. EDMC reported the employment statistics internally and

externally, including to prospective students, employers and the investment community.

Furthermore, all materials distributed to students or graduates, such as the placement statistics

brochures, had to be approved by the Business Practices Committee at the Central Staff Office in

Pittsburgh. EDMC was responsible for auditing the employment data reported by NEIA9, and

despite knowing that these and other verification issues were prevalent at its schools,

nevertheless published the placement rate brochures based on insufficient, incorrect, and falsified

data.

        59.       Notably in 2012, after increased government scrutiny, EDMC revised several of

its employment verification procedures. EDMC no longer allowed NEIA to count many retail or



'According to deposition testimony of Amanda Lobdell, a former CSA at NEIA, EDMC also visited NEIA to audit
the physical files underlying the reported statistics. EDMC also required NEIA's Career Services department to
conduct annual internal audits of the employment verification process.

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sales associate positions as in-field placements. EDMC also formally established rules that

seemed to address the issue of CSAs fraudulently completing the employment verification forms

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the graduate had signed the form, and second, employees could not allow students to sign blank

verification forms.

            60.            Defendants' promises ofjob placement and representations regarding placement

rates were false and misleading. Defendants misrepresented to prospective students that NEIA

had exceptionally high rates of "in field" employment, when Defendants knew, or should have

known, that its placement statistics were materially inaccurate. As discussed above, while

Defendants reported placement rates between 70% and 98%, the actual placement rates were

between 26% and 60%. And, when considering the attrition rate (typically about 65%), the

likelihood that a recently enrolled student would graduate and obtain such a job is even lower,

with the placement rate dropping further to 10-15%. Thus, NEIA's true placement rates paint a

much darker picture: graduates were unlikely to find full-time employment in their field, which

almost certainly meant their income would fall to cover their high loan costs.

            61.           Despite knowing of their affirmative misrepresentations and omissions, NEIA and

EDMC aggressively used false placement rates to recruit students.

            62.           Many former students were persuaded to attend NEIA based on its seemingly-

stellar job placement statistics. Over 80 students have reported to the AGO that Defendants

touted high placement rates to convince them to enroll in the school. Student statements

concerning these misrepresentations include the following:

                  •       "NEIA used their job statistics as a selling point that convinced us we'd be able to
                          afford the loan payments."




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              •   "The enrollment process was them preaching about the 100% job placement they
                  had, and the charts of how much I could make to start in the industry. These were
                  huge reasons I joined NEIA and it was a complete lie."

              •   "I distinctly remember [the ADA] telling me that 90% of their students are
                  employed in their field of study within 6 months of graduating, and that the
                  school is well-known for finding their students employment in the film industry.
                  It was this specific claim that encouraged me to enroll."

              •   "[T]hey told me that a high percentage of their graduates get a job in their chosen
                  field almost immediately."

              •   "I was told I would have a job in the field of Animation right out of school."

              •   "I was told that graduation from my program had a 90% employment rate within
                  the field."

              •    "I was told job placement was impeccable (nearly all graduates placed within a
                  year of graduating) and my degree would be affordable [as compared] to my
                  income. This was a LIE!"



        3. False and/or Misleading Representations Concerning Job Placement Services

        63.       In addition to falsifying placement rates, Defendants also misled prospective

students regarding the services NEIA would provide and assistance NEIA would render in

helping graduates to obtain employment. Representations regarding job placement services were

important to Defendants in "selling" the school to prospective students. They also helped to quell

potential skepticism regarding the inflated placement rates. A sample script provided to ADAs

by EDMC suggested that ADAs tell prospective students that "[A] big difference between us and

other schools is our employment assistance provided by our Career Services Department, which

is the hallmark of the Art Institutes." EDMC also trained ADAs to tell prospective students that

the Career Services department "provides students with job leads that match their interests and

qualifications."



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         64.     Despite these representations, students approaching graduation generally received

little or no assistance from the school's Career Services office. More than 60 former students

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other things, former students report:

    •   "The career services department was no help at all. ... Their advice was to search
        yelp.com, elance.com, outsource.com and craigslist.org."

    •   "NEIA was no help in finding [a] job or internship. They tell you ... they have all these
        connections and they really don't. ... [The] school falsely advertised [its] ratio of
        student[s] to job[s] after graduation. Counted any job, not just job[s] in field."

    •   "I was misled in terms of receiving help finding employment. I have received no help
        from the school in finding a job and my e-mails have never been answered ..."

    •   "A lot of the jobs [the career advisor] would send my way were jobs that did not [pay]
        enough for me to even cover my loans. A lot of the jobs would be minimum wage or
        definitely below what I needed an [sic] order to sustain a living and pay my loans."


        65.      CSAs were far more concerned with confirming graduates' employments than

they were with helping students find in-field and sustainable jobs. Due to EDMC's statistical

reporting requirements, CSAs had a limited amount of time to work with each group of

graduates. As was noted in the CSA e-mail above, it was easier to confirm the graduate's current

employment (regardless of what the position was) than it was to help a graduate find an in-field

and sustainable job. Thus, despite Defendants' representations to the contrary, the goal of Career

Services was not to help students pursue full-time employment. The goal of Career Services was

to verify the employment of as many graduates as possible, no matter if the job was unrelated or

unsustRinable, for the purpose of representing high placement rates to recruit prospective

students. NEIA's representations concerning its placement services were false and misleading,

made merely to induce students to enroll at the school.



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       4. False and/or Misleading Representations Related to Costs and Financial Aid


       66.     NEIA made false statements and/or failed to provide material information to

consumers and prospective students concerning the cost of attendance and financial aid.

       67.     Defendants knew the cost of attendance was a significant concern to prospective

students, as this was cited by EDMC as one of the most common reasons prospective students

withdrew their application or canceled their enrollment. Accordingly, Defendants trained ADAs

to downplay these concerns. A sample EDMC script for use by ADAs highlights this effort:

       "[T]he majority of our applicants are able to make their education affordable through a
       variety of financial resources. Can you see how if you take the cost of the education and
       subtract from it any resources for which you qualify, and know that the Financial Aid
       Officer will work out a financial plan that will help you cover the balance of the costs
       either through the use of alternative loans, in school payment plans, personal
       contributions and scholarships, how these costs can be made manageable?"

       68.     Although EDMC stated in its training materials that "there are a limited number

of institutional scholarships for students who meet certain criteria," Defendants often referred to

scholarship opportunities in marketing materials. Additionally, all prospective students were

provided with an application for the "Merit" based scholarship, despite that such scholarships

were also limited in availability. Defendants deceived prospective students into believing that

scholarship opportunities were more available than they actually were, thereby adding to the

false impression that prospective students would be able to afford NEIA's steep tuition and fees.

       69.     Former students report having over $100,000 in student loan debt after attending

NEIA, and others report they were unable to finish their degree due to the high tuition and fees.

The average institutional aid (including scholarships and grants) provided to fast-time, full-time

students enrolling between 2010 and 2014 was less than $3000.

       70.     One former student reports that she "come[s] from a poor family", yet was

assured by NEIA officials the school would be affordable. In the end, the school's promise
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proved meaningless. Describing herself as "misled" and "fooled by my admissions experience at

NEIA," the student added,

         "Had Ti 0 WiTL I' d bc unable to get a profitable     Lily field o-f stud-y arid
         would be ... hundreds of thousands of dollars in debt     I never would have chosen
         NEIA. Attending NEIA is truly the biggest mistake I've ever made and I'll be paying the
         consequences [for] the rest of my life."


         71.       In fact, Defendants knew that the education was not affordable for most of its

students where, as explained above, half of the borrowers who left NEIA between April 2009

and March 2010, were in default, deferment or forbearance on their federal loans. When

marketing to prospective students and convincing them they would find a way to pay for school,

NEIA and EDMC failed to tell them about the staggering default and non-repayment rates.

         72.      Defendants also routinely overbilled students for incorrect tuition amounts,

including charging students for more credit hours in a semester than the number of hours for

which they were in fact enrolled. In a review of 196 Student Financial Plan Projections'

provided by NEIA to enrolled students, 87 contained incorrect tuition amounts. While some

students report that they noticed discrepancies and had their bills corrected, those who did not

have been overcharged by the school and have been forced to bear the additional cost as part of

their ongoing debt.

         73.      Incorrect billing affected not only students with federal loans, but also students

who used Veteran's education benefits. In 2016, Veteran's Affairs conducted a routine

compliance survey and discovered that the school had been incorrectly calculating tuition

charges for students who had withdrawn or reduced their credit hours. The survey showed that



 1° NEIA provided Student Financial Plan Projections to students who were enrolled at the time the teach-out was
announced in 2015. While the plans were intended to provide students forward-looking cost information, the plans
also included past tuition and fee charges. The vast majority of incorrect tuition charges are reflected in the past
tuition and fee charges.

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NEIA's failure to accurately and promptly report tuition charges and its failure to report the

status of students who had withdrawn resulted in overpayments of Veteran's education benefits

in' excess of $40,000.

       74.      Defendants' misrepresentations concerning cost of attendance and available

financial aid were false and misleading, made for the sole purpose of inducing students to enroll

and pay NEIA's steep tuition costs.



                                      CAUSES OF ACTION

                                            Count One

                                    (Violations of G.L. c. 93A)

        75. The Commonwealth repeats and realleges paragraphs 1 through 74 of this Complaint.

        76.     The Defendants have engaged in unfair. or deceptive acts or practices in violation

of G.L. c. 93A, § 2. Such unfair or deceptive acts or practices include without limitation the

following:

       A. NEIA and EDMC made false and/or misleading representations to Massachusetts
          consumers and its accreditor concerning its selectivity.

       B. NEIA and EDMC made false and/or misleading representations to Massachusetts
          consumers concerning job placement by manipulating and artificially inflating its job
          placement rates.

       C. NEIA and EDMC made false and/or misleading representations to Massachusetts
          consumers concerning the placement services it would provide to students.

       D. NEIA and EDMC made false and/or misleading representations to Massachusetts
          consumers concerning the nature and availability of financial aid, thereby failing to
          disclose or actively concealing the true cost of attendance.

       E. The above false and/or misleading representations include affirmative statements and
          material omissions.
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          77.     Defendants' false and/or misleading representations to Massachusetts consumers

were material, and said misrepresentations deceived, or had the tendency or capacity to deceive,

Massachusetts consumers, iiittuwit6 them to GI11011 at NEIA and pay     its tuition calt/   lees.

          78.     Defendants knew or should have known that the misrepresentations discussed

above were false and/or misleading, and that their acts or practices were unfair and deceptive in

violation of G.L. c. 93A, § 2.

          79.     Defendants were paid tuition and fees by reason of their unfair or deceptive acts

or practices, causing harm to Massachusetts consumers in the form of ascertainable financial

losses.

                                              Count Two

                                (Violations of 940 CMR 3.10 and 3.16)

          80.     The Commonwealth repeats and realleges paragraphs 1 through 79 of this

Complaint.

          81      The Defendants have engaged in unfair or deceptive acts or practices in violation

of 940 CMR 3.10 and 3.16. Such unfair or deceptive acts or practices include without limitation

the following:

          A. NEIA and EDMC violated the terms of 940 CMR 3.10 and 3.16.

          B. NEIA and EDMC made false or deceptive statements or representations to
             Massachusetts consumers by misrepresenting the school's selectivity.

          C. NEIA and EDMC induced the enrollment and/or retention of students that it knew, or
             had reason to know, were unfit to attend the school, by reason of educational or other
             material disqualification.

          D. NEIA and EDMC made false or deceptive statements or representations to
             Massachusetts consumers in its promotional materials, on websites, and through
             recruiting efforts concerning NEIA's ability to secure suitable employment for its
             graduates.



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       E. NEIA and EDMC made false or deceptive statements or representations to
          Massachusetts consumers concerning the nature and scope of employment
          opportunities available to its students and graduates.

       F. NEIA and EDMC made false or deceptive statements or representations to
          Massachusetts consumers concerning the services it would provide in support of
          students' efforts to secure suitable employment after graduation.

       G. NEIA and EDMC made false or deceptive statements or representations to
          Massachusetts consumers concerning the financial aid available to its students.

       H. The above false and or misleading representations include affirmative statements and
          material omissions.


       82.     Defendants' false and/or misleading representations to Massachusetts consumers

were material, and said misrepresentations deceived, or had the tendency or capacity to deceive,

Massachusetts consumers, inducing them to enroll at NEIA and pay its tuition and fees.

       83.     Defendants knew or should have known that the misrepresentations discussed

above were false and/or misleading, and that their acts or practices were unfair and deceptive in

violation of 940 CMR 3.10 and 3.16.

       84.     Defendants were paid tuition and fees by reason of their unfair or deceptive acts

or practices, causing harm to Massachusetts consumers and others in the form of ascertainable

financial and other losses.

                                      RELIEF REQUESTED

       WHEREFORE, the Commonwealth requests that this Court:

       A.      Order Defendants to fix damages in the form of full and complete restitution to

former NEIA students, including but not limited to repayment of all amounts paid by such

students to NEIA comprising tuition and fees.




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       B.      Order Defendants to pay the Commonwealth civil penalties of $5,000 for each

separate violation of G.L. c. 93A, § 2, as well as its reasonable attorney's fees and costs incurred

in the investigation and prosecution of this lawsuit.

       C.      Order Defendants to cease the pursuit and collection of outstanding student loans

and other school-related debts owed by former students who were deceived by Defendants.

       D.      Grant such other and further relief as this Court deems just and proper.



                                                  Respectfully Submitted,

                                                  COMMONWEALTH OF MASSACHUSETTS

                                                  MAURA HEALEY
                                                  ATTORNEY GENERAL




                                                  Diana Hooley, Assistant Attorney General
                                                  Insurance & Financial Services Division
                                                  One Ashburton Place, 18th Floor
                                                  Boston, Massachusetts 02108
                                                  BBO #685418
                                                  Phone: 617-963-2198
                                                  Email: diana.hooley@state.ma.us


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